                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 1 of 19



                1   COOLEY LLP                                     DUSTIN M. KNIGHT (pro hac vice)
                    HEIDI L. KEEFE (178960)                        (dknight@cooley.com)
                2   (hkeefe@cooley.com)                            11951 Freedom Drive, 16th Floor
                    REUBEN H. CHEN (228725)                        Reston, VA 20190
                3   (rchen@cooley.com)                             Telephone: (703) 456-8000
                    DANIEL J. KNAUSS (267414)                      Facsimile: (703) 456-8100
                4   (dknauss@cooley.com)
                    ALEXANDRA LEEPER (307310)                      GREENBERG TRAURIG, LLP
                5   (aleeper@cooley.com)                           KYLE D. CHEN (SBN 239501)
                    DEEPA KANNAPPAN (313573)                       kchen@gtlaw.com
                6   (dkannappan@cooley.com)                        1900 University, Avenue, 5th Floor
                    3175 Hanover Street                            East Palo Alto, CA 94304
                7   Palo Alto, CA 94304-1130                       Telephone: (650) 289-7887
                    Telephone: (650) 843-5000                      Facsimile: (650) 328-8508
                8   Facsimile: (650) 849-7400

                9
                    Attorneys for Defendant and Counter-claimant
          10        COOLIT SYSTEMS, INC. and Defendants
                    CORSAIR GAMING, INC. and CORSAIR
          11        MEMORY, INC.

          12
                                                UNITED STATES DISTRICT COURT
          13
                                              NORTHERN DISTRICT OF CALIFORNIA
          14
                                                    SAN FRANCISCO DIVISION
          15

          16
                    ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC
          17
                                     Plaintiff and                 DEFENDANTS’ NOTICE OF MOTION AND
          18                         Counter-defendant,            MOTION TO STRIKE PORTIONS OF THE
                                                                   EXPERT REPORT OF DR. DAVID B.
          19               v.                                      TUCKERMAN REGARDING INVALIDITY OF
                                                                   U.S. PATENT NOS. 8,746,330; 9,603,284;
          20        COOLIT SYSTEMS, INC.,                          AND 10,274,266

          21                         Defendant and
                                     Counter-claimant,              Date: May 5, 2022
          22                                                        Time: 1:30 pm
                    CORSAIR GAMING, INC. and CORSAIR
          23        MEMORY, INC.,                                   Location: Courtroom 5, 17th Floor
                                                                    Judge: Hon. Edward M. Chen
          24                          Defendants.

          25

          26

          27

          28
  COOLEY LLP                                                                   DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
                                                                                               MOTION TO STRIKE
    PALO ALTO
                                                                                     CASE NO. 3:19-CV-00410-EMC
                          Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 2 of 19


                                                                        TABLE OF CONTENTS
                1
                                                                                                                                                          Page
                2

                3   NOTICE OF MOTION AND MOTION TO STRIKE ........................................................................ 1
                    MEMORANDUM OF POINTS AND AUTHORITIES ..................................................................... 2
                4
                    I.   INTRODUCTION ................................................................................................................... 2
                5   II.  BACKGROUND ..................................................................................................................... 2
                6        A.    Asetek’s Original Antarctica Invalidity Theories ........................................................ 2
                         B.    Dr. Tuckerman’s New Invalidity Theories for Antarctica........................................... 3
                7
                         C.    Danger Den-RBX ......................................................................................................... 5
                8        D.    Dr. Tuckerman’s Reliance on Danger Den-RBX ......................................................... 5
                9        E.    Chang ........................................................................................................................... 7
                    III. LEGAL STANDARD.............................................................................................................. 7
          10
                         A.    Untimely Invalidity Theories and Prior Art References .............................................. 7
          11             B.    IPR Estoppel ................................................................................................................ 8
          12        IV.  ARGUMENT ........................................................................................................................... 9
                         A.    Dr. Tuckerman relies on newly proposed modifications for “microchannels”
          13                   and “seal” in his Antarctica-based obviousness grounds ............................................ 9
          14             B.    Dr. Tuckerman treats Danger Den-RBX as a ground reference masquerading
                               as “background art”.................................................................................................... 10
          15             C.    Dr. Tuckerman’s Chang opinions violate the Court’s Order on IPR estoppel .......... 14
          16        V.   CONCLUSION ...................................................................................................................... 14

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
  COOLEY LLP                                                                                                   DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
    PALO ALTO
                                                                                           i                                   MOTION TO STRIKE
                                                                                                                     CASE NO. 3:19-CV-00410-EMC
                         Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 3 of 19



                1                                                   TABLE OF AUTHORITIES
                                                                                                                                                    Page(s)
                2

                3   Cases
                4
                    Arendi S.A.R.L. v. Apple Inc.,
                5      832 F.3d 1355 (Fed. Cir. 2016)................................................................................................13

                6   Asia Vital Components Co. v. Asetek Danmark A/S,
                       No. 16-cv-07160-JST, 2018 WL 4945316 (N.D. Cal. Oct. 11, 2018) .....................................10
                7
                    ASUS Comp. Int'l v. Round Rock Research, LLC,
                8      No. 12-cv-02099-JST (NC), 2014 WL 1463609 (N.D. Cal. Apr. 11, 2014) ...........................10
                9   Aylus Networks, Inc. v. Apple, Inc.,
          10           No. C-13-4700 EMC, 2015 WL 12976113 (N.D. Cal. June 2, 2015) ...............................10, 14

          11        Cal. Inst. of Tech. v. Broadcom Ltd.,
                       25 F.4th 976 (Fed. Cir. 2022) ....................................................................................................9
          12
                    Digital Reg of Texas, LLC v. Adobe Systems, Inc.,
          13           No. C 12-1971 CW, 2014 WL 4090550 (N.D. Cal. Aug. 19, 2014) ...........................11, 12, 14
          14        Finjan, Inc. v. Sophos, Inc.,
                       No. 14-cv-01197-WHO, 2016 WL 2988834 (N.D. Cal. May 24, 2016) .............................8, 10
          15

          16        Fresenius Med. Care Holdings, Inc. v. Baxter Int’l, Inc.,
                       No. C 03-1431 SBA, 2006 WL 1329997 (N.D. Cal. May 15, 2006) ........................................8
          17
                    Largan Precision Co. v. Genius Elec. Optical Co.,
          18           No. 13-cv-02502-JD, 2014 WL 6882275 (N.D. Cal. Dec. 5, 2014) ....................................8, 12
          19        Life Techs. Corp. v. Biosearch Techs., Inc.,
                        No. C 12-00852 WHA, 2012 WL 4097740 (N.D. Cal. Sept. 17, 2012) ....................................8
          20

          21        MediaTek Inc. v. Freescale Semiconductor, Inc.,
                      No. 11-cv-5341 YGR, 2014 WL 690161 (N.D. Cal. Feb. 21, 2014).........................................8
          22
                    O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc.,
          23           476 F.3d 1355 (Fed. Cir. 2006)..........................................................................................10, 14

          24        Pavo Sols. LLC v. Kingston Tech. Co.,
                       No. 8:14-cv-01352-JLS-KES, 2019 WL 8138163 (C.D. Cal. Nov. 20, 2019) ....................8, 12
          25
                    Takeda Pharm. Co. v. TWi Pharms., Inc.,
          26
                       No. 13-CV-02420-LHK, 2015 WL 1227817 (N.D. Cal. Mar. 17, 2015) ................................10
          27
                    Verinata Health Inc. v. Sequenom, Inc.,
          28           No. C 12-00865 SI, 2014 WL 4100638 (N.D. Cal. Aug. 20, 2014) ....................................8, 10
  COOLEY LLP                                                                                               DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
    PALO ALTO
                                                                                      ii                                   MOTION TO STRIKE
                                                                                                                 CASE NO. 3:19-CV-00410-EMC
                          Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 4 of 19



                1                                                         TABLE OF AUTHORITIES
                                                                                (Continued)
                2
                                                                                                                                                                   Page(s)
                3   Volterra Semiconductor Corp. v. Primarion, Inc.,
                       796 F. Supp. 2d 1025 (N.D. Cal. 2011) ...................................................................................13
                4
                    Word to Info Inc. v. Facebook Inc.,
                5
                      No. 15-cv-03485-WHO, 2016 WL 6276956 (N.D. Cal. Oct. 27, 2016) ...........................10, 14
                6
                    Statutes
                7
                    35 U.S.C.
                8      § 102...........................................................................................................................................8
                       § 103...........................................................................................................................................8
                9      § 285(e) ....................................................................................................................................14
                       § 311(b) ......................................................................................................................................8
           10
                       § 314(a) ......................................................................................................................................9
           11          § 315(e)(2) .................................................................................................................................9
                       § 318(a) ......................................................................................................................................9
           12
                    Other Authorities
           13
                    Patent Local Rule
           14          3-3 ..........................................................................................................................................7, 8
                       3-4 ..............................................................................................................................................5
           15
                       3-6 ............................................................................................................................................10
           16          4-3(a) ........................................................................................................................................10

           17

           18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
  COOLEY LLP                                                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                                             iii                      DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                                                      MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 5 of 19



                1                         NOTICE OF MOTION AND MOTION TO STRIKE

                2   TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORDS:

                3          PLEASE TAKE NOTICE that on May 5, 2022 at 1:30 p.m., or as soon thereafter as the matter

                4   may be heard, in this Court, located at San Francisco Courthouse, Courtroom 5 – 17th Floor, 450

                5   Golden Gate Ave., San Francisco, CA 94102, Defendants CoolIT Systems, Inc., Corsair Gaming, Inc.,

                6   and Corsair Memory, Inc. will and hereby do move to strike portions of the Expert Report of Dr. David

                7   B. Tuckerman Regarding Invalidity of U.S. Patent Nos. 8,746,330; 9,603,284; and 10,274,266. This

                8   motion is based upon this notice of motion and motion, the attached memorandum, the accompanying

                9   declaration of Reuben H. Chen and exhibits thereto, and upon such other and further matters, papers,

          10        and arguments as may be submitted to the Court at or before the hearing on this motion.

          11

          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
  COOLEY LLP                                                                       DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
    PALO ALTO
                                                                    1                              MOTION TO STRIKE
                                                                                         CASE NO. 3:19-CV-00410-EMC
                          Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 6 of 19



                1                        MEMORANDUM OF POINTS AND AUTHORITIES

                2   I.      INTRODUCTION

                3           Defendants CoolIT Systems, Inc. (“CoolIT”), Corsair Gaming, Inc., and Corsair Memory, Inc.

                4   (collectively “Corsair”) respectfully submit this motion to strike Dr. Tuckerman’s opinions related to

                5   new invalidity theories, at least one undisclosed reference, and an estopped ground. Dr. Tuckerman’s

                6   Invalidity Report adds new material to grapple with the Court’s “seal” construction and evidentiary

                7   concerns over “microchannels,” even though the theories and references are absent from Asetek’s

                8   invalidity contentions. Asetek also had a clear mechanism to include the new material—seeking the

                9   Court’s leave to amend upon a showing of good cause. Having elected not to do so, Asetek should

           10       not be permitted to add belated invalidity theories and references through expert reports.

           11               Separately, Dr. Tuckerman asserts the estopped Chang reference against all limitations in the

           12       ’330 asserted claims. Inclusion of this estopped ground and the new materials openly flouts the spirit

           13       and letter of the Patent Local Rules and this Court’s Orders (ECF Nos. 42, 98). Dr. Tuckerman’s

           14       opinions on these matters should be stricken.

           15       II.     BACKGROUND

           16               A.     Asetek’s Original Antarctica Invalidity Theories
           17               Asetek’s original invalidity contentions asserted Antarctica more narrowly than Dr.

           18       Tuckerman does in his Invalidity Report. In the original Antarctica charts for the Asserted CoolIT

           19       Patents, Asetek just points to the grooves in Antarctica’s heat spreader plate as the “microchannels.”

           20

           21

           22

           23

           24

           25

           26

           27

           28
  COOLEY LLP                                                                               CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                     2               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                     MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 7 of 19



                1   (E.g., Declaration of Reuben H. Chen (“Chen Decl.”), Ex. 2 (’330 Antarctica chart (Chart I)) at 9.)1,2

                2   No other theory for “microchannels” appears in the Antarctica charts, and certainly no proposed

                3   modification to Antarctica to include “microchannels” under an obviousness theory.

                4          Similarly, Asetek’s Antarctica charts recite a “seal” because the “housing and the plate in

                5   Antarctica are connected.” The same prose shown below appears for this limitation across all the

                6   asserted independent claims of the ’330 and ’284 patents:

                7

                8

                9

           10
                    (See Ex. 2 (’330 Antarctica chart (Chart I)) at 5, 8-9, 11; Ex. 3 (’330 Antarctica-Chang chart (Chart
           11
                    II)) at 9, 20, 29; Ex. 5 (’284 Antarctica chart (Chart I)) at 14.) While this passage assumes a scenario
           12
                    where the regions Asetek calls a “housing” and a “plate” are not connected, it is undisputed that in
           13
                    Antarctica these two alleged regions are part of the same continuous/monolithic plastic mold.
           14

           15

           16

           17

           18

           19
                    (Ex. 7, ¶56 (Asetek’s annotations from original).)
           20
                           B.      Dr. Tuckerman’s New Invalidity Theories for Antarctica
           21
                           Dr. Tuckerman’s Invalidity Report, however, includes new invalidity theories in his Antarctica
           22
                    grounds. With respect to “microchannels,” Dr. Tuckerman injects a new theory of obviousness with
           23
                    alleged motivations to modify Antarctica’s channels:
           24
                           Moreover, a person of ordinary skill in the art in August 2007 would have known
           25

           26       1
                     All references to “Ex.” refer to exhibits to the Declaration of Reuben H. Chen, submitted herewith.
                    2
                     This same disclosure for “microchannels” appears throughout the ’330, ’284, and ’266 Antarctica-
           27       based claim charts. (See Ex. 2 (’330 Antarctica chart (Chart I)) at 2, 7, 9; Ex. 3 (’330 Antarctica-
                    Chang chart (Chart II)) at 2, 14, 22-23; Ex. 5 (’284 Antarctica chart (Chart I)) at 1, 6-7; Ex. 4 (’266
           28       Antarctica-Satou chart (Chart I)) at 1.)
  COOLEY LLP                                                                               CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                     3               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                     MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 8 of 19



                1          that the fins in a fluid heat exchanger should be disposed in such a way that they
                           would form microchannels between adjacent fins. This is because it was well-
                2          known by August 2007 that microchannels have large surface area-to-volume ratio,
                3          and therefore, microchannels provide a large heat transfer surface area per unit fluid
                           flow volume as compared to macrochannels or minichannels. Accordingly, a
                4          person of ordinary skill in the art would readily form microchannels (in place of
                           macro- or mini-channels) on a heat transfer surface of a fluid heat exchanger to
                5          enhance thermal transfer.
                6   (Ex. 7, ¶57.) This theory is entirely absent from Asetek’s invalidity contentions.

                7          Dr. Tuckerman also injects a new proposed modification to Antarctica to deal with the Court’s

                8   construction for “seal” as “a component that fills a gap to prevent leakage through the gap.” (ECF

                9   No. 149 at 42-45.)3 He identifies two regions in the Antarctica physical sample’s plastic mold as the

           10       “housing” and “plate” and proposes separating them to insert a seal in between. Indeed, while he notes

           11       “[t]he housing and the apertured plate of the Antarctica fluid heat exchanger are

           12       continuous/monolithic, and thus sealed”—a position in direct conflict with the Court’s “seal”

           13       construction—he continues:

           14              If the housing and the apertured plate of the Antarctica waterblock were not
                           continuous, it would have been obvious to provide an O-ring or gasket between
           15
                           the plate and the housing to prevent leakage and/or short-circuiting of fluid between
           16              the inlet and outlet…. Moreover, having the housing and the plate as separate
                           components that are sealed would have been an obvious modification of the
           17              Antarctica. See Chang, 6:13-19, 6:22-30. This is because the single-piece housing
                           and plate of the Antarctica has to be precision machined with specialized
           18              techniques, which increases manufacturing costs and complexities. Having separate
           19              housing and plate provides greater flexibility in material choice for the housing and
                           the plate, simplifies manufacturing and assembly of the fluid heat exchanger, and
           20              allows for better manufacturing scalability. Thus, one skilled in the art would have
                           been motivated to separate the housing and the plate of the Antarctica, and would
           21              have reasonably expected success in doing so.
           22                                                      ****
           23
                           Moreover, the plate, the housing, and the seal therebetween in a modified
           24              Antarctica are arranged such that the cooling fluid is directed from the housing
                           inlet to the inlet header, then through the inlet defined by the plate and into the
           25              microchannels, from the microchannels to the outlet header, and from the outlet
                           header to the outlet of the housing.
           26

           27
                    3
                     Asetek did not seek leave to amend its invalidity contentions at any point after the Court issued its
           28       Claim Construction Order.
  COOLEY LLP                                                                               CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                     4               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                     MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 9 of 19



                1   (E.g., Ex. 8 (Tuckerman ’330 Antarctica chart (Chart I)) at 20-22 (emphasis added).) Dr. Tuckerman

                2   is even more explicit about modifying Antarctica to separate the alleged “plate” and “housing” regions

                3   in the main body of his report. (See Ex. 7, ¶¶65-72.) Again, this invalidity theory does not appear

                4   anywhere in Asetek’s invalidity contentions—presumably because Asetek thought in 2019 that its

                5   proposed construction for “seal” would carry the day.

                6          C.      Danger Den-RBX
                7          Asetek never asserted Danger Den-RBX4 as prior art before Dr. Tuckerman’s Invalidity

                8   Report. Asetek’s invalidity contentions asserted only Anderson, Antarctica, Bhatti, Chang, Hamilton,

                9   Kang, and Satou (see Ex. 1 at 3-6), and Asetek dropped Anderson when required to narrow to six

           10       references per patent under the Court’s Amended Case Management and Pretrial Order (ECF No. 42).

           11       (See Ex. 6 (Asetek’s Final Election of Prior Art) at 1.) Asetek never sought leave to amend its

           12       invalidity contentions or its final election in the intervening years, even after claim construction orders.

           13              In fact, CoolIT learned of Danger Den-RBX for the first time in the final months of fact

           14       discovery during Dr. Pokharna’s planned June 25, 2021 inspection of the Antarctica physical sample.

           15       When Dr. Pokharna arrived for inspection, Asetek’s counsel surprised CoolIT with a physical sample

           16       it claimed to be Danger Den-RBX—almost two years after Asetek’s Pat. L. R. 3-4 disclosure deadline.

           17       Asetek then produced documentation related to Danger Den-RBX on the final day of fact discovery.

           18               D.     Dr. Tuckerman’s Reliance on Danger Den-RBX
           19               Just as with his newly proposed Antarctica modifications, Dr. Tuckerman relies on Danger

           20       Den-RBX to grapple with the Court’s “seal” construction. He points to Danger Den-RBX as support

           21       to separate Antarctica’s alleged “housing” and “plate” regions and insert a separate “seal,” citing

           22       Danger Den-RBX as a “good example” that is “very similar to the Antarctica in structure, function,

           23       and operation.” (Ex. 7, ¶68.) Of course, he distinguishes Danger Den-RBX from Antarctica as having

           24       “separate housing and plate that are mated together with a seal therebetween”—the precise limitation

           25       he acknowledges Antarctica lacks because of the Court’s “seal” construction. (Id.)

           26               Even though he does not explicitly identify Danger Den-RBX as part of an asserted ground,

           27
                    4
                      Danger Den-RBX is a liquid cooling device Asetek made available for inspection on June 25, 2021
           28       (“Danger Den-RBX”).
  COOLEY LLP                                                                                  CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                       5                DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                        MOTION TO STRIKE
                       Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 10 of 19



                1   Dr. Tuckerman nevertheless provides a date of U.S. sale—presumably to qualify the device as prior

                2   art—and a color-coded mapping of device components to limitations in the Asserted Claims:

                3

                4

                5

                6

                7

                8

                9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21
                    (Id., ¶68.) He then uses this color-coded device in his ’284 Antarctica chart. (Ex. 9 (Tuckerman ’284
           22
                    Antarctica Chart (Chart I)) at 7-8, 16-17.) Curiously, he acknowledges that Danger Den-RBX lacks
           23
                    “microchannels” and then proposes modifying his “good example” to substitute its minichannels for
           24
                    microchannels. (Ex. 7, ¶69.) He even provides the same motivations to modify Danger Den-RBX to
           25
                    include microchannels as he did with Antarctica. (Compare id., ¶69, with id., ¶57.)
           26
                           Dr. Tuckerman’s report also describes the fluid flow path through Danger Den-RBX using
           27
                    language from the ’330 patent claims. (See Ex. 7, ¶69 (e.g., “[f]rom the inlet header, the cooling fluid
           28
  COOLEY LLP                                                                               CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                     6               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                     MOTION TO STRIKE
                           Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 11 of 19



                1   enters the channels in the heat spreader plate (aka cold plate) via an elongate opening/aperture in the

                2   plate.”) (emphasis added).) In doing so, he also explains how Danger Den-RBX meets certain fluid

                3   flow limitations in, e.g., the ’284 patent. (Id., ¶89 (noting Danger Den-RBX includes an “outlet flow

                4   path from a centrally-positioned channel first end is longer than an outlet flow path from an outer

                5   channel first end.”).) He again applies color-coded annotations of the limitations to Danger Den-RBX:

                6

                7

                8

                9

           10

           11

           12

           13

           14       (Id.)
           15                 E.     Chang
           16                 Separate from these “seal”-inspired issues, Dr. Tuckerman’s reliance on Chang contravenes
           17       IPR estoppel. Asetek’s invalidity contentions originally included Chang grounds against the ’330
           18       patent based on anticipation and single-reference obviousness. (See Ex. 1 at 4 (A-3).) CoolIT
           19       successfully moved the Court to strike these grounds under IPR estoppel, as Asetek had previously
           20       challenged and failed to invalidate the ’330 patent claims in IPR2015-01276. (See ECF No. 98.)
           21       Despite the Court’s Order, Dr. Tuckerman’s Invalidity Report includes an Antarctica-Chang ground
           22       where he asserts that “Chang discloses every limitation of the asserted claims, including a seal
           23       extending between the housing and the plate.” (Ex. 7, ¶73.) Dr. Tuckerman’s Antarctica-Chang ’330
           24       claim chart includes Chang disclosures for all limitations. (See generally Ex. 8 (Chart II).)
           25       III.      LEGAL STANDARD
           26                 A.     Untimely Invalidity Theories and Prior Art References

           27                 Patent Local Rule 3-3 requires serving invalidity contentions that identify “each item of prior

           28       art that allegedly anticipates each asserted claim or renders it obvious.” The purpose of this rule is to
  COOLEY LLP                                                                                 CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                       7               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                       MOTION TO STRIKE
                       Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 12 of 19



                1   “require parties to crystallize their theories of the case early in the litigation and to adhere to those

                2   theories once they have been disclosed.” Fresenius Med. Care Holdings, Inc. v. Baxter Int’l, Inc., No.

                3   C 03-1431 SBA, 2006 WL 1329997, at *4 (N.D. Cal. May 15, 2006) (citation omitted). “Given the

                4   purpose behind [these] disclosure requirements, a party may not use an expert report to introduce new

                5   infringement theories, new infringing instrumentalities, new invalidity theories, or new prior art

                6   references not disclosed in the parties’ infringement contentions or invalidity contentions.” Verinata

                7   Health Inc. v. Sequenom, Inc., No. C 12-00865 SI, 2014 WL 4100638, at *3 (N.D. Cal. Aug. 20, 2014)

                8   (internal quotation marks and citation omitted). “Any invalidity theories not disclosed pursuant to

                9   Local Rule 3-3 are barred … from presentation at trial (whether through expert opinion testimony or

           10       otherwise).” MediaTek Inc. v. Freescale Semiconductor, Inc., No. 11-cv-5341 YGR, 2014 WL

           11       690161, at *1 (N.D. Cal. Feb. 21, 2014).

           12              With respect to previously undisclosed references, while some courts in this district have

           13       declined to strike references used only as “background” material, “the line between when a reference

           14       is used as background material, and when it is used as an anticipation or obviousness reference, can

           15       be difficult to draw.” Finjan, Inc. v. Sophos, Inc., No. 14-cv-01197-WHO, 2016 WL 2988834, at *11-

           16       12 (N.D. Cal. May 24, 2016). The Court should look past clever labeling to determine if the use of a

           17       reference is an attempt to elude the Patent Local Rules. See Life Techs. Corp. v. Biosearch Techs.,

           18       Inc., No. C 12-00852 WHA, 2012 WL 4097740, at *1-2 (N.D. Cal. Sept. 17, 2012); Largan Precision

           19       Co. v. Genius Elec. Optical Co., No. 13-cv-02502-JD, 2014 WL 6882275, at *6 (N.D. Cal. Dec. 5,

           20       2014) (striking portions of expert report relying on undisclosed reference in motivation to modify

           21       analysis); MediaTek, 2014 WL 690161, at *2 (striking portions of expert report relying on undisclosed

           22       reference in invalidity mapping under guise of a “damage mitigation theory”); Pavo Sols. LLC v.

           23       Kingston Tech. Co., No. 8:14-cv-01352-JLS-KES, 2019 WL 8138163, at *10-11 (C.D. Cal. Nov. 20,

           24       2019) (striking portions of expert report relying on an undisclosed “background” reference analyzed

           25       for certain claim limitations using the court’s claim construction).

           26              B.      IPR Estoppel
           27              Petitions for IPR are limited to raising grounds for invalidity under 35 U.S.C. §§ 102 and 103

           28       and only “on the basis of prior art consisting of patents or printed publications.” 35 U.S.C. § 311(b).
  COOLEY LLP                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                      8               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                      MOTION TO STRIKE
                          Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 13 of 19



                1   The PTAB reviews IPR petitions and may institute trial if it “determines that the information presented

                2   in the petition … shows that there is a reasonable likelihood that the petitioner would prevail with

                3   respect to at least 1 of the claims challenged[.]” 35 U.S.C. § 314(a). After trial, the PTAB issues a

                4   final written decision pursuant to 35 U.S.C. § 318(a). After the final written decision issues, 35 U.S.C.

                5   § 315(e)(2) provides that “[t]he petitioner in an inter partes review of a claim in a patent under this

                6   chapter that results in a final written decision under section 318(a), … may not assert either in a civil

                7   action arising in whole or in part under section 1338 of title 28 … that the claim is invalid on any

                8   ground that the petitioner raised or reasonably could have raised during that inter partes review.” The

                9   Federal Circuit recently clarified that this estoppel provision “applies not just to claims and grounds

           10       asserted in the petition and instituted for consideration by the Board, but to all grounds not stated in

           11       the petition but which reasonably could have been asserted against the claims included in the petition.”

           12       Cal. Inst. of Tech. v. Broadcom Ltd., 25 F.4th 976, 991 (Fed. Cir. 2022); (see also ECF No. 98 at 8-12

           13       (adopting same reasoning).)

           14       IV.      ARGUMENT

           15                Dr. Tuckerman’s Invalidity Report adds new invalidity theories for Antarctica, and at least one

           16       new reference, to deal with the Court’s “seal” construction and evidentiary concerns over

           17       “microchannels.” Separately, his use of Chang is judicially estopped. These disclosures openly flout

           18       the spirit and letter of the Patent Local Rules and the Court’s Orders. Asetek also had a clear

           19       mechanism to include the new material—seeking the Court’s leave to amend upon a showing of good

           20       cause. Having elected not to do so, Asetek should not be permitted to shove in belated invalidity

           21       theories and references through expert reports.

           22                A.     Dr. Tuckerman relies on newly proposed modifications for “microchannels” and
                                    “seal” in his Antarctica-based obviousness grounds
           23

           24                Dr. Tuckerman includes new proposed modifications to Antarctica that were absent from

           25       Asetek’s invalidity contentions.     Asetek’s invalidity contentions say nothing about modifying

           26       Antarctica to include “microchannels,” and it makes little sense why Dr. Tuckerman should add a

           27       common-sense obviousness theory to his Invalidity Report as he does if he truly believed when

           28       measuring the Antarctica sample’s channel widths that they were “between 0.9 – 1.0 mm.” (Ex. 7,
  COOLEY LLP                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                      9               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                      MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 14 of 19



                1   ¶57.) Likewise, Dr. Tuckerman proposes separating the alleged “housing” and “plate” regions in

                2   Antarctica to insert a separate seal in a belated attempt to read Antarctica on the claims consistent with

                3   the Court’s “seal” construction (“a component that fills a gap to prevent leakage through the gap”)—

                4   which he admits that Antarctica does not have. (Id., ¶¶65, 73, 114.) These invalidity theories appear

                5   for the first time in Dr. Tuckerman’s Invalidity Report—they should be stricken. Verinata Health,

                6   2014 WL 4100638, at *3; Asia Vital Components Co. v. Asetek Danmark A/S, No. 16-cv-07160-JST,

                7   2018 WL 4945316, at *2 (N.D. Cal. Oct. 11, 2018); ASUS Comp. Int'l v. Round Rock Research, LLC,

                8   No. 12-cv-02099-JST (NC), 2014 WL 1463609, at *1 (N.D. Cal. Apr. 11, 2014); see also Takeda

                9   Pharm. Co. v. TWi Pharms., Inc., No. 13-CV-02420-LHK, 2015 WL 1227817, at *9 (N.D. Cal. Mar.

           10       17, 2015) (striking theory not disclosed in invalidity contentions); Finjan, Inc., 2016 WL 2988834, at

           11       *13 (same).

           12              This is true even if Asetek were to move to amend its contentions now based on the Court’s

           13       2020 Claim Construction Order. The Court’s Amended Case Management and Pretrial Order,

           14       consistent with Pat. L.R. 3-6, is clear that “amendment to contentions/preliminary elections” can be

           15       made “only by order of Court upon timely showing of good cause.” (ECF No. 42 (emphasis added).)

           16       As almost two years have passed since the Court’s Claim Construction Order, Asetek clearly would

           17       not been diligent in seeking amendment now—which it has not even bothered to do.5 See, e.g., O2

           18       Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 476 F.3d 1355, 1367 (Fed. Cir. 2006) (affirming district

           19       court ruling that three-month delay was not diligent); Aylus Networks, Inc. v. Apple, Inc., No. C-13-

           20       4700 EMC, 2015 WL 12976113, at *1 (N.D. Cal. June 2, 2015) (Chen, J.) (eight-month delay after

           21       receiving opposing counsel’s proposed construction not diligent); Word to Info Inc. v. Facebook Inc.,

           22       No. 15-cv-03485-WHO, 2016 WL 6276956, at *6 (N.D. Cal. Oct. 27, 2016) (four-month delay after

           23       receiving opposing counsel’s proposed construction not diligent).

           24              B.      Dr. Tuckerman treats Danger Den-RBX as a ground reference masquerading as
                                   “background art”
           25

           26              Danger Den-RBX also appears in Dr. Tuckerman’s Invalidity Report for the first time precisely

           27
                    5
                     A diligence showing on “microchannels” is irrelevant because the parties stipulated to the operative
           28       construction of “channels with widths up to 1 millimeter” under Pat. L. R. 4-3(a). (ECF No. 67.)
  COOLEY LLP                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                      10              DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                      MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 15 of 19



                1   because of the tension between Antarctica’s single-piece plastic mold (where Asetek alleges there is

                2   a “plate” and “housing” region) and the Court’s “seal” construction. Dr. Tuckerman’s treatment of

                3   Danger Den-RBX goes well beyond use as “background” to show the state of the art or POSITA

                4   knowledge. His report: (1) recites a priority date for the device (Ex. 7, ¶68); (2) discusses how the

                5   device satisfies the “seal” limitation missing in Antarctica (id.); (3) color-codes components to the

                6   ’330 / ’284 claim limitations and explains the fluid flow path through them (id., ¶¶68-69); and (4)

                7   provides a motivation to modify analysis to incorporate “microchannels” into the Danger Den-RBX

                8   device (id., ¶69). He even admitted the reason he included this proposed modification:

                9          Q. Right. So you’re relying on Danger Den as a ground of obviousness; correct?

           10              A. Well, I’m -- what I’m saying is that if you make that one modification, which is

           11              an obvious modification, it seems to fulfill every aspect of the CoolIT claims.

           12       (Ex. 10 at 173:23-174:6 (emphasis added) (objections omitted); see also id. at 175:10-20 (“I wouldn’t

           13       have included it if it was not useful to – to the arguments.”), id. at 175:23-177:11 (discussing Danger

           14       Den-RBX as a comparable device to Antarctica with a separate housing and plate).)

           15              Why does he do this? Because Dr. Tuckerman treats Danger Den-RBX as an analog to

           16       Antarctica that, unlike Antarctica, could satisfy the “seal” limitation and render the ’330 and ’284

           17       patents obvious. That is, if a POSITA could additionally modify Danger Den-RBX’s minichannels to

           18       be “microchannels.” Dr. Tuckerman provides motivations to modify Danger Den-RBX to include

           19       microchannels—as an expert would do with a ground reference. (See Ex. 7, ¶69.) In a more overt act

           20       of using it as a ground reference, he includes a color-annotated Danger Den-RBX image in his

           21       Antarctica ’284 chart for dependent claims 4 and 19,6 pointing to the device as “an obvious design

           22       alternative or modification of the Antarctica.” (Ex. 9 (Chart I) at 9, 17.) Dr. Tuckerman’s actions

           23       bely any attempt to masquerade Danger Den-RBX as background; it is used as invalidating prior art.

           24              Recent case law affirms the Court should go beyond Asetek’s “clever labeling” and strike

           25       Danger Den-RBX as belatedly asserted prior art. In Digital Reg of Texas, LLC v. Adobe Systems, Inc.,

           26
                    6
                      Claims 4 and 19 require a “spreader plate, wherein the plurality of walls extends upwardly of the
           27       spreader plate and the housing contacts the spreader plate.” Dr. Tuckerman relies on Danger Den-
                    RBX for a proposed modification of Antarctica that discloses “the housing contacts the spreader plate.”
           28       (Ex. 9 (Chart I) at 7-9, 15-17.)
  COOLEY LLP                                                                               CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                    11               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                     MOTION TO STRIKE
                       Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 16 of 19



                1   Adobe sought to use undisclosed references to demonstrate limitations not covered by its ground

                2   references, arguing that these references need not be previously disclosed because of their use to show

                3   the state of the art and POSITA knowledge. The court disagreed, pointing out that “demonstrating a

                4   separate limitation is disclosed in the prior art, constitutes another prior art reference that should have

                5   been disclosed in [Adobe’s] Prior Art Election.” Digit. Reg, No. C 12-1971 CW, 2014 WL 4090550,

                6   at *9 (N.D. Cal. Aug. 19, 2014). That is precisely what Dr. Tuckerman does throughout his report.

                7   As mentioned, he maps the Danger Den-RBX components to limitations found in the Asserted Claims.

                8          Similarly, in Pavo Solutions, the defendant averred that its expert did not and would not use a

                9   previously undisclosed reference as invalidating prior art. 2019 WL 8138163, at *11. However, the

           10       expert’s report made repeated use of claim terms and the court’s construction in analyzing the

           11       reference to determine that it disclosed certain claim limitations. Id. The court concluded that this

           12       behavior “goes beyond the use of the [reference] as a mere background reference and crosses the line

           13       into prior art bearing on invalidity.” Id. Dr. Tuckerman analyzed Danger Den-RBX like the

           14       defendant’s expert in Pavo Solutions, providing color-coded annotations for various limitations to the

           15       ’330 and ’284 asserted claims in a manner consistent with his Antarctica annotations. (See Ex. 7,

           16       ¶¶68-69, 114 (color-coding for “housing,” “seal,” “plate”, “inlet header,” “outlet headers,” “heat

           17       spreader plate”); id, ¶89 (Danger Den-RBX discloses a particular interpretation for “outlet flow path”

           18       recited in the ’284 patent’s asserted independent claims).) Dr. Tuckerman’s actions demonstrate that

           19       he uses Danger Den-RBX as invalidating prior art.

           20              Even if, arguendo, Dr. Tuckerman is just using Danger Den-RBX as a “good example” of

           21       why/how to modify Antarctica, courts in this District have nevertheless struck such references used to

           22       provide a motivation to modify. For example, in Largan Precision the court struck portions of an

           23       expert’s report where he relied on a previously undisclosed reference “as an example of a reference

           24       that teaches the benefits of [an optical feature] that would motivate modifying” a ground reference to

           25       include a missing claim limitation. 2014 WL 6882275, at *6. The court noted that the undisclosed

           26       reference did not appear within the background section, but rather the substantive analysis of the

           27       report. Id. Similarly, here, Dr. Tuckerman alleges that Danger Den-RBX is a “good example” that

           28       would motivate a POSITA to modify Antarctica to, e.g., separate the alleged “housing” and “plate”
  COOLEY LLP                                                                                 CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                      12               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                       MOTION TO STRIKE
                        Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 17 of 19



                1   regions in Antarctica’s single-piece plastic mold to insert a “seal.” (See Ex. 7, ¶¶68-69, 114.)

                2   DangerDen-RBX appears in his analysis under “Summary of Prior Art That Renders the Asserted

                3   Claims of the [’330 / ’284] Patent Invalid” and his Antarctica-based invalidity charts, not the

                4   background.

                5          Dr. Tuckerman’s invalidity charts also lay bare that he intends Danger Den-RBX as a

                6   secondary reference for Antarctica rather than “background.”           His Antarctica single-reference

                7   obviousness grounds must rely on POSITA “common sense” to gap-fill deficiencies in Antarctica.

                8   However, the PTAB in IPR2020-00825 (for the ’266 patent) held that application of “common sense”

                9   for this subject matter ought not apply because “the technology at issue is not simple, and it is apparent

           10       that multiple modifications to [the prior art reference] would likely be necessary for success.” (Ex. 11

           11       at 38-39); see also Arendi S.A.R.L. v. Apple Inc., 832 F.3d 1355, 1361-62 (Fed. Cir. 2016) (noting,

           12       inter alia, that “common sense is typically invoked to provide a known motivation to combine, not to

           13       supply a missing claim limitation” and also where the technology is “particularly straightforward.”).

           14       As Asetek cannot lean purely on “common sense,” Danger Den-RBX appears numerous times in Dr.

           15       Tuckerman’s ’330 and ’284 Antarctica charts.7 In contrast, Dr. Tuckerman makes a single mention

           16       of Danger Den-RBX in his Antarctica-Chang chart where he can rely on Chang for the “seal.”8

           17              If Asetek wanted to use Danger Den-RBX as prior art to the Asserted CoolIT Patents, it should

           18       have moved the Court to amend its invalidity contentions.9 Doing so requires showing diligence under

           19       the good cause standard, which Asetek has not met. Asetek should not be permitted an end run around

           20       the Patent Local Rules, and the Court’s limitations on asserted references (ECF No. 42), through

           21       clandestine use of Danger Den-RBX to shore up Antarctica’s issues with the Court’s “seal”

           22

           23       7
                      Claim 13 of the ’266 patent recites a “seal that is a part of the plate” and does not require the “seal”
                    extend between the “housing” and “plate.” Asetek and Dr. Tuckerman thus point to a rubber gasket
           24       recessed into the bottom of Antarctica’s single-piece plastic mold.
                    8
                      Claim element 14.4 in the Antarctica-Chang chart is the exception, but Danger Den-RBX is still used
           25       as a gap-filler. Dr. Tuckerman merely provides at least two separate mappings for this limitation, one
                    being to modify Antarctica using Danger Den-RBX as a guide. (Ex. 8 (Chart II) at 53.)
           26       9
                      Asetek’s surprise disclosure of Danger Den-RBX at Dr. Pokharna’s June 25, 2021 inspection does
                    not discharge its duty to amend. Volterra Semiconductor Corp. v. Primarion, Inc., 796 F. Supp. 2d
           27       1025, 1119 (N.D. Cal. 2011) (“[T]he fact that Defendants may have produced some of the prior art
                    references in discovery or disclosed them in expert reports does not excuse Defendants from their
           28       obligation to amend their invalidity contentions under the Patent Local Rules.”).
  COOLEY LLP                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                      13              DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                      MOTION TO STRIKE
                         Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 18 of 19



                1   construction. Digit. Reg, 2014 WL 4090550, at *9. It is far too late now. O2 Micro, 476 F.3d at 1367;

                2   Aylus, 2015 WL 12976113, at *1; Word to Info, 2016 WL 6276956, at *6.

                3           Dr. Tuckerman likewise uses Kandlikar, Bonde, and his own thesis in his Invalidity Report as

                4   unnamed secondary ground references to gap-fill missing limitations in his single-reference

                5   obviousness grounds based on Antarctica, Kang, and Bhatti. (See Ex. 7, ¶69 (microchannels for

                6   Antarctica), id., ¶102 (Bonde, Kandlikar for single split flow for Kang), id., ¶116 (same for Bhatti).)

                7   These grounds would otherwise have had to rely on “common sense” obviousness arguments that the

                8   PTAB in IPR2020-00825 found insufficient. (Ex. 11 at 38-39.) Dr. Tuckerman admitted under oath

                9   that he relied on these references as prior art that discloses certain limitations of the Asserted CoolIT

           10       Patents. (Ex. 10 at 119:13-120:13, 95:2-20, 72:11-74:18.) These references should also be stricken

           11       for some of the same reasons as Danger Den-RBX, including exceeding the Court’s prior art limits.

           12               C.     Dr. Tuckerman’s Chang opinions violate the Court’s Order on IPR estoppel
           13               Dr. Tuckerman’s overbroad reliance on Chang is also legally impermissible. The Court

           14       already struck Chang from Asetek’s invalidity contentions for the ’330 patent pursuant to 35 U.S.C.

           15       § 285(e). (See ECF No. 98 at 14.) Dr. Tuckerman’s paragraph 73 opinion that “Chang discloses every

           16       limitation of the asserted claims” should be stricken for the same reasons. As Asetek is judicially

           17       estopped from asserting Chang in this manner, Dr. Tuckerman’s ’330 Antarctica-Chang chart should

           18       also be stricken because it includes Chang disclosures for all limitations.

           19       V.      CONCLUSION

           20               For the foregoing reasons, Defendants respectfully request that the Court grant their Motion

           21       and strike the portions of Dr. Tuckerman’s opinions discussed above with respect to his Invalidity

           22       Report and any related deposition testimony.

           23

           24

           25

           26

           27

           28
  COOLEY LLP                                                                                CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                                     14               DEFENDANTS’ NOTICE OF MOTION AND
                                                                                                      MOTION TO STRIKE
                       Case 3:19-cv-00410-EMC Document 401 Filed 03/31/22 Page 19 of 19



                1
                    Dated:    March 31, 2022           /s/ Reuben H. Chen
                2
                                                       COOLEY LLP
                3                                      HEIDI L. KEEFE (178960)
                                                       (hkeefe@cooley.com)
                4                                      REUBEN H. CHEN (228725)
                                                       (rchen@cooley.com)
                5                                      DANIEL J. KNAUSS (267414)
                                                       (dknauss@cooley.com)
                6                                      ALEXANDRA LEEPER (307310)
                                                       (aleeper@cooley.com)
                7                                      DEEPA KANNAPPAN (313573)
                                                       (dkannappan@cooley.com)
                8                                      3175 Hanover Street
                                                       Palo Alto, CA 94304-1130
                9                                      Telephone: (650) 843-5000
                                                       Facsimile: (650) 849-7400
           10
                                                       DUSTIN M. KNIGHT (pro hac vice)
           11                                          (dknight@cooley.com)
                                                       11951 Freedom Drive, 16th Floor
           12                                          Reston, VA 20190
                                                       Telephone: (703) 456-8000
           13                                          Facsimile: (703) 456-8100

           14                                          Attorneys for Defendant and Counter-claimant
                                                       COOLIT SYSTEMS, INC. and Defendants
           15                                          CORSAIR GAMING, INC. and CORSAIR
                                                       MEMORY, INC.
           16
                                                       GREENBERG TRAURIG, LLP
           17                                          KYLE D. CHEN (SBN 239501)
                                                       (kchen@gtlaw.com)
           18                                          1900 University Avenue
                                                       East Palo Alto, CA 94303
           19                                          Telephone: (650) 289-7887
                                                       Facsimile: (650) 328-8508
           20
                                                       Attorneys for Defendant CoolIT Systems, Inc.
           21

           22

           23

           24

           25

           26

           27

           28
  COOLEY LLP                                                                  CASE NO. 3:19-CV-00410-EMC
ATTORNEYS AT LAW
    PALO ALTO
                                                         15             DEFENDANTS’ NOTICE OF MOTION AND
                                                                                        MOTION TO STRIKE
